            Case 2:14-cr-00246-RAJ             Document 50    Filed 11/06/14      Page 1 of 2




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,              Case No. CR14-246 RAJ

10          v.                                            DETENTION ORDER

11 TANYA MARIE JEFFERSON,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          The United States Probation and Pretrial Services Office alleged defendant violated a

18 condition of her appearance bond. Without making any admissions, defendant requested the

19 Court revoke her appearance bond and remand her to custody.

20          It is therefore ORDERED:

21          (1)    Defendant shall be detained pending trial and committed to the custody of the

22 Attorney General for confinement in a correctional facility separate, to the extent practicable,

23 from persons awaiting or serving sentences, or being held in custody pending appeal;



     DETENTION ORDER - 1
            Case 2:14-cr-00246-RAJ         Document 50        Filed 11/06/14      Page 2 of 2




 1         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 2 counsel;

 3         (3)     On order of a court of the United States or on request of an attorney for the

 4 Government, the person in charge of the correctional facility in which Defendant is confined

 5 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 6 connection with a court proceeding; and

 7         (4)     The Clerk shall provide copies of this order to all counsel, the United States

 8 Marshal, and to the United States Probation and Pretrial Services Officer.

 9         DATED this 6th day of November, 2014.

10

11

12                                                       BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
13

14

15

16

17

18

19

20

21

22

23



     DETENTION ORDER - 2
